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                                                                              Chris Daniel - District Clerk Harris County
                                                                                                Envelope No. 20917346
                                                                                                         By: Lisa Thomas
                                                                                             Filed: 11/27/2017 4:01 PM

                                   CAUSE NO. 2017-65533

MARCUS WILSON,                       §                      IN THE DISTRICT COURT OF
Plaintiff,                           §
                                     §                      190th JUDICIAL DISTRICT
vs.                                  §
                                     §                      HARRIS COUNTY, TEXAS
TEICHMAN GROUP, LLC, T&T MARINE, §
INC., EXPRESS PROFESSIONAL           §
SERVICES, INC. & OSG LIGHTERING, LLC §
Defendants.                          §                      JURY TRIAL DEMANDED

                       PLAINTIFF’S FIRST AMENDED PETITION

TO THIS HONORABLE COURT:

       Plaintiff files this Original Petition against Defendants Teichman Group, LLC, T&T

Marine, Inc., Express Professional Services, Inc, OSG Lightering, LLC, and Cheramie Marine,

LLC and respectfully show this Honorable Court the following:

                                    Summary of this Case

       On September 20, 2017, Blake Carlisle was working for Express Professional Services at

the T&T Marine facility in Galveston. This facility was leased to OSG Lightering. A Cheramie

Marine vessel was being offloaded. T&T Marine is a subsidiary of the Teichman Group, LLC.

Teichman is an international provider of marine services to companies across the globe. Plaintiff

had only begun working at this facility several days before. On the day of the incident, OSG

Lightering was offloading and backloading a Cheramie Marine vessel at the T&T owned facility.

OSG and Cheramie Marine were using a T&T Marine crane and crane operator.                                           At

approximately 11am on September 20, a crane toppled over on top of Blake Carlisle during his

shift, killing him. The crane was being operated without its outriggers extended, making the

crane extremely dangerous to use.      But for the egregious conduct of the Defendants, this

preventable accident would not have occurred.
                                                                          PLAINTIFF'S
                                                                                               exhibitsticker.com




                                                                            EXHIBIT

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        Plaintiff seeks more than $25 million from the Defendants.

                                               I.
                                     Discovery Control Plan

        Plaintiff intends to conduct discovery under Level 2.

                                                II.
                                              Parties

        Plaintiff Marcus Wilson is a resident of Texas. Mr. Wilson is the father of Blake

Carlisle.

        Defendant T&T Marine, Inc. is a domestic corporation doing business in Texas.

Defendant can be served via its registered agent in Texas, Deborah Busby, 9738 Teichman Road,

Galveston, TX 77554. No citation is requested at this time.

        Defendant Teichman Group, LLC is a domestic limited liability company doing business

in Texas. Defendant can be served via its registered agent in Texas, Deborah Busby, 9738

Teichman Road, Galveston, TX 77554. No citation is requested at this time.

        Defendant Express Professional Services, Inc. is a domestic for profit corporation doing

business in Texas. Defendant can be served via its registered agent in Texas, Daniel Nino, at

10190 Katy Freeway, Ste. 5100, Houston, Texas 77043. No citation is requested at this time.

        Defendant OSG Lightering, LLC is a foreign limited liability company doing business in

Texas. Defendant can be served via registered agent in Texas, CT Corp System, 1999 Bryan St.,

Ste. 900, Dallas, TX 75201. No citation is requested at this time.

        Defendant Cheramie Marine, LLC is a foreign limited liability company doing business

in Texas. Defendant does not keep a registered agent in Texas, and, as such, this defendant must

be served via the Texas Secretary of State at Secretary of State, P.O. Box 12079, Austin, Texas




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78711-2079, for service upon Cheramie’s President, Dino Cheramie, at 11603 Hwy 308, Larose,

Louisiana 70373.

                                              III.
                                      Venue and Jurisdiction

        Plaintiff seeks damages in excess of $75,000.00, exclusive of interest and costs; however,

federal courts lack subject matter over this action, as there is no federal question and there is

incomplete diversity of citizenship due to the presence of a plaintiff and a defendant who are

both residents and citizens of Texas. Removal would thus be improper. No party is asserting

any claims arising under the Constitution, treaties, or laws of the United States. Venue is proper

in this County as at least one Defendant maintains a principal office here.

                                                 IV.
                                                Facts

        This case arises from negligence that occurred at Plaintiff’s place of work.               An

improperly placed and operated crane was operating at the T&T Marine facility on September

20, 2017. The crane, an 80 ton Tadano GT 800XL, overturned while operating free on wheels

with a fair bit of boom extended. The crane fell over sideways, and, according to local reports, its

boom landed on Mr. Carlisle and his co-worker. These two workers eventually died from their

injuries.

                                               V.
                                         Causes of Action

Negligence – All Defendants

        Plaintiff incorporates the preceding paragraphs of this Petition as if set forth fully below.

        Defendants owned and operated the crane. The crane was placed negligently and was

being operated negligently. Specifically, Defendants breached their duty in the following ways:

        1.    Causing, or permitting to be caused, a crane collapse;



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       2.      Failing to maintain a safe work place;

       3.      Failing to have a reliable system to prevent the incident;

       4.      Failing to operate the crane in a safe and prudent manner;

       5.      Failing to exercise reasonable and prudent care in the operations which were
               occurring at the facility on the date of the incident;

       6.      Failing to implement, follow, and enforce proper operations procedures;

       7.      Failing to keep a proper lookout;

       8.      Failing to implement, follow, and enforce proper safety procedures;

       9.      Failing to properly inspect, maintain and equip the crane in a prudent manner;

       10.     Failing to implement, follow, and enforce proper hazard analysis;

       11.     Failing to properly operate the crane;

       12.     Failing to properly train and staff members operating the Crane;

       13.     Failing to properly supervise those operating the Crane;

       14.     Failing properly maintain the Crane;

       15.     Failing to properly inspect the Crane;

       16.     Failure to properly stabilize the Crane.

       Defendants’ breach of these duties, one or a combination thereof, proximately caused

injuries brought forth by the Plaintiff.

       The acts of negligence committed by Defendants’ agents, servants, and/or employees

arose directly out of and was done in prosecution of the business that they were employed to do

by Defendant, who is therefore liable under the doctrine of respondeat superior for their

negligent actions.




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Gross Negligence – All Defendants

       Defendants were grossly negligent and acted with malice, as those terms are understood

under Texas law, and such conduct was a proximate cause of the occurrence and of Plaintiffs’

injuries and damages.      Defendants’ malicious and grossly negligent conduct justifies the

imposition of punitive and exemplary damages both as punishment to Defendants for their

callous disregard and as a deterrent to others from engaging in similar conduct. Plaintiffs

therefore ask for and are entitled to punitive and exemplary damages in addition to all actual

damages.

                                                VI.
                                              Damages

       As stated, Plaintiff’s injuries are extensive. The Plaintiff in this case seeks wrongful

death damages, and survival damages on behalf of the estate. As a direct and proximate result of

the foregoing events, Plaintiff has suffered damages in the past and, in reasonable probability, will

continue to suffer damages in the future, including mental anguish, loss of services, and loss of

consortium, all for which Plaintiffs seek recovery herein.

       Plaintiff seeks all wrongful death damages allowed by Texas law.

                                              VII.
                                       Exemplary Damages

       Plaintiff seeks to recover exemplary damages against all Defendants based on their gross

negligence in causing the incident and resulting injuries and damages made the basis of this suit.

                                             VIII.
                                         Demand for Jury

       Plaintiff demands a jury trial and has tendered the appropriate fee.




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                                               IX.
                                     Requests for Disclosure

        Pursuant to Tex. R. Civ. P. 194, Plaintiffs requests that each Defendants disclose within

fifty (50) days of service of this Request for Disclosure, the information and/or material

described in Rule 194.2.

                                                 X.
                                               Prayer

      For these reasons, Plaintiff asks that Defendants be cited to appear and answer, and that

they have judgment against Defendants for the following:

      a.      Actual damages for mental anguish, loss of consortium, wrongful death damages,

              and loss of services, within the jurisdictional limits of this Court, but no less than

              $25,000,000:

      b.      Exemplary damages;

      c.      Court costs;

      d.      Pre and post judgment interest; and

      e.      All other relief to which the Plaintiff is justly entitled.

                                                   Respectfully submitted,
                                                   THE BUZBEE LAW FIRM
                                                  By: /s/ Anthony G.Buzbee
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                                                   ATTORNEYS FOR PLAINTIFF


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                                CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of this document has been duly served on all
known counsel of record and pro se parties in accordance with the Texas Rules of Civil
Procedure on November 27, 2017 as set forth below:

Via Facsimile: (713) 228-6605
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                                                        /s/ Christopher J. Leavitt
                                                          Christopher J. Leavitt




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